       Case 5:25-cv-03096-JWL     Document 3     Filed 05/16/25   Page 1 of 1




                  UNITED STATES DISTRICT COURT
                       DISTRICT OF KANSAS


MARK HELSTROM,

                         Petitioner,

v.                                                   Case No. 25-3096-JWL

IMMIGRATION AND CVUSTOMS
ENFORCEMENT,

                         Respondent.



                         JUDGMENT IN A CIVIL CASE

( )   JURY VERDICT. This action came before the Court for a trial by jury. The issues
      have been tried and the jury has rendered its verdict.

(x)   DECISION BY THE COURT. This action came before the Court. The issues have
      been considered and a decision has been rendered.


      IT IS ORDERED AND ADJUDGED that the petition is dismissed for lack of
      jurisdiction.


Entered on the docket 05/16/25

Dated: May 16, 2025                    SKYLER B. O’HARA
                                       CLERK OF THE DISTRICT COURT



                                       s/S. Nielsen-Davis
                                       Deputy Clerk
